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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA


    MIL MUJERES, INC.,
                                                                Case No. 2:23-cv-14056-KMM
            Plaintiff,

    v.

    RUBIC, LLC, et ano.,

            Defendant.


                   JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

           Pursuant to Rule 41(a)(1)(A)(ii), the parties jointly stipulate to the dismissal of this action

   with prejudice, with each party to bear its own attorney’s fees and costs.

   Dated: March 7, 2024

    David H. Haft                                             James M. Slater
    David H. Haft (FBN 68992)                                 James M. Slater (FBN 111779)
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             Certificate of Compliance with CM/ECF Administrative Procedure 3J(3)

           I hereby certify that, pursuant to CM/ECF Administrative Procedure 3J(3), counsel

   for Plaintiff consented to the filing of this stipulation and authorized the undersigned in writing

   to sign for Plaintiff’s counsel.

                                                          James M. Slater
                                                          James M. Slater
